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EXHIBIT 1
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         IN THE UNITED STATES DISTRICT COURT FOR THE
                NORTHERN DISTRICT OF GEORGIA
                       ATLANTA DIVISION

WILLIAM T. QUINN and DAVID CROSS,

             Plaintiffs,
                                                   Case 1:24-cv-04364-SCJ
v.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,

             Defendant.


    PROPOSED INTERVENOR-DEFENDANTS GEORGIA STATE
  CONFERENCE OF THE NAACP; GEORGIA COALITION FOR THE
  PEOPLE’S AGENDA, INC.; AND LEAGUE OF WOMEN VOTERS OF
           GEORGIA PROPOSED MOTION TO DISMISS

      COMES NOW GEORGIA STATE CONFERENCE OF THE NAACP;

GEORGIA COALITION FOR THE PEOPLE’S AGENDA, INC.; and LEAGUE

OF WOMEN VOTERS OF GEORGIA (“Proposed Intervenor-Defendants”), by and

through their undersigned counsel of record, and file this Proposed Motion to

Dismiss pursuant to the Federal Rules of Civil Procedure 12(b)(1) and 12(b)(6).

      The basis for this motion is fully set forth in Proposed Intervenor-Defendants’

Brief in Support of Proposed Motion to Dismiss.




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Respectfully submitted, this 2nd day of October, 2024.

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                                        2
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                      CERTIFICATE OF COMPLIANCE
      Pursuant to Local Rule 7.1, the undersigned counsel hereby certifies that this

document has been prepared with one of the font and point selections approved by

the Court in Local Rule 5.1.

      Dated this 2nd day of October 2024.

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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

WILLIAM T. QUINN and DAVID CROSS,

             Plaintiffs,
                                               Case 1:24-cv-04364-SCJ
v.

BRAD RAFFENSPERGER, in his official
capacity as Secretary of State of Georgia,

             Defendant.


       BRIEF IN SUPPORT OF PROPOSED MOTION TO DISMISS BY
       GEORGIA STATE CONFERENCE OF THE NAACP; GEORGIA
     COALTION FOR THE PEOPLE’S AGENDA, INC.; AND LEAGUE OF
                   WOMEN VOTERS OF GEORGIA
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                                INTRODUCTION

      Only 19 days before the start of advance voting in Georgia, and long after

voters were able to begin requesting absentee ballots on August 19, Plaintiffs filed a

Complaint requesting that this Court order the Georgia Secretary of State to urgently

undertake a program designed to move voters identified by Plaintiffs into “inactive”

status on the voter rolls before November 5, 2024. ECF No. 1 (“Compl.”). The next

day, Plaintiffs filed an ex parte Motion to Expedite, reaffirming their request for

relief to be “completed” before the November General Election. ECF No. 4 at 1.

      Not only is the 2024 General Election already underway, but Plaintiffs seek to

have the Defendant review an unknown number of voter registrations from a

months-old list in less than a week before the October 7, 2024 voter registration

deadline. Also, Plaintiffs ignore that in the time since they purportedly conducted

their analysis, voters have been, and continue to be, submitting new applications and

updating their voter registration information prior to the October 7 deadline. Sending

address confirmation notices to voters based on, at best, outdated evidence of their

residence and voter registration address risks unleashing untold confusion in the

final weeks of the General Election.

      Both counts of Plaintiffs’ Complaint must be dismissed. First, Plaintiffs do not

have Article III standing to bring either of their claims. Additionally, because this

Court does not have original jurisdiction over the action, it may not exercise

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supplemental jurisdiction over Plaintiffs’ state law claim. Second, Plaintiffs have not

stated a claim upon which relief may be granted. Their request for relief has no basis

in law, and Plaintiffs have not pleaded facts sufficient to provide a plausible basis

for the drastic relief they seek.

        Granting Plaintiffs’ requested relief based on their admittedly unreliable

data—which apparently has not even been disclosed to this Court—would risk

confusing and disenfranchising voters and would undermine the integrity of

Georgia’s elections. Plaintiffs’ Complaint should be dismissed in its entirety.

   I.      APPLICABLE LEGAL STANDARDS

           A. RULE 12(B)(1)

        Federal Rule of Civil Procedure 12(b)(1) permits a party to challenge the

Court’s subject-matter jurisdiction, meaning that parties may challenge plaintiffs’

standing to assert their claims. Fed. R. Civ. P. 12(b)(1); see Cone Corp. v. Fla. Dep’t

of Transp., 921 F.2d 1190, 1203 n.42 (11th Cir. 1991). Unlike Rule 12(b)(6), Rule

12(b)(1) does not require a court to view plaintiffs’ allegations in a favorable light

and permits a court to consider evidence refuting those allegations. Eaton v.

Dorchester Dev., Inc., 692 F.2d 727, 732 n.9 (11th Cir. 1982). Because Rule 12(b)(1)

questions the court’s jurisdiction, “no presumptive truthfulness attaches to plaintiff’s

allegations” and “the trial court is free to weigh the evidence and satisfy itself as to




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the existence of its power to hear the case.” Flat Creek Transp., LLC v. Fed. Motor

Carrier Safety Admin., 923 F.3d 1295, 1299 n.1 (11th Cir. 2019).

          B. RULE 12(B)(6)

      Under Federal Rule of Civil Procedure Rule 12(b)(6), a claim will be

dismissed for failure to state a claim upon which relief can be granted if it does not

plead “enough facts to state a claim to relief that is plausible on its face.” Lowery v.

Deal, 850 F. Supp. 2d 1326, 1330 (N.D. Ga. 2012) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 547 (2007)). “A claim has facial plausibility when the

pleaded factual content allows the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 663

(2009). A claim will survive a motion to dismiss only if the factual allegations in the

complaint are “enough to raise a right to relief above the speculative level.”

Twombly, 550 U.S. at 555. Although the allegations of a complaint must be accepted

as true and construed in the light most favorable to the plaintiff, Powell v. Thomas,

643 F.3d 1300, 1302 (11th Cir. 2011), the court need not accept the plaintiff’s legal

conclusions or for that matter, legal conclusions couched as factual allegations,

Iqbal, 556 U.S. at 678–79. The evaluation of a motion to dismiss requires two steps:

the court must (1) eliminate any allegations in the complaint that are merely legal

conclusions, and (2) where there are well-pleaded factual allegations, “assume their




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veracity and then determine whether they plausibly give rise to an entitlement to

relief.” Id. at 679.

   II.      ARGUMENT

            A. THE COURT LACKS SUBJECT MATTER JURISDICTION
               OVER EACH OF PLAINTIFFS’ CLAIMS.

         Plaintiffs fail to allege bases for constitutional standing. Because Plaintiffs

ultimately cannot maintain a case or controversy under the federal statutes, this

Court does not have original jurisdiction and cannot exercise supplemental

jurisdiction over Plaintiffs’ state law claims in Count II. For these reasons, Plaintiffs’

Complaint must be dismissed under Rule 12(b)(1) in its entirety.

                    1. Plaintiffs Fail to Establish Constitutional Standing as
                       Required Under Article III.

         Federal courts are courts of limited jurisdiction, meaning they may hear only

“cases” and “controversies” under Article III of the Constitution. Lujan v. Defs. of

Wildlife, 504 U.S. 555, 560–61 (1992). Standing to sue is one component of Article

III’s case or controversy requirement. Clapper v. Amnesty Int’l USA, 568 U.S. 398,

408 (2013). This requirement extends not only to federal claims, but also to

supplemental state law claims pleaded in federal court. Wilding v. DNC Servs. Corp.,

941 F.3d 1116, 1130 (11th Cir. 2019). Furthermore, Plaintiffs must demonstrate

standing for each form of relief sought. Id. at 1124–25.




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       To establish standing, Plaintiffs must demonstrate (1) an injury-in-fact, (2)

that is fairly traceable to the challenged action of the defendant, and (3) is likely to

be redressed by a favorable court decision. Wood v. Raffensperger, 981 F.3d 1307,

1313 (11th Cir. 2020); Lujan, 504 U.S. at 560–61. An injury in fact is “an invasion

of a legally protected interest that is both concrete and particularized and actual or

imminent, not conjectural or hypothetical.” Wood, 981 F.3d at 1314. In other words,

the injury must “affect the plaintiff in a personal and individual way.” Spokeo, Inc.

v. Robins, 578 U.S. 330, 339 (2016). A “generalized grievance” that is

“undifferentiated and common to all members of the public” does not confer

standing. Wood, 981 F.3d at 1314 (quoting Lujan, 504 U.S. at 575).

       Plaintiffs fail the first prong of this test. Neither of their claims contain

allegations supporting a concrete and particularized injury. Indeed, Plaintiffs’ theory

of standing rests entirely on the “dilution” of Plaintiffs’ right to vote by the presence

of supposedly ineligible voters on the rolls. See Compl. ¶¶ 1, 2, 36. However,

Plaintiffs fail to acknowledge that the Eleventh Circuit does not recognize this form

of vote dilution as a cognizable injury.

       Plaintiffs’ injury of supposed “vote dilution” is not cognizable under Article

III. Plaintiffs cite a handful of out-of-circuit district court cases in an effort to support

an allegation that Plaintiffs’ loss of “confidence in the electoral process” and burden

on the right to vote in the form of vote dilution is “an actionable injury in fact.”

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Compl. ¶ 28. Unfortunately for Plaintiffs, the Eleventh Circuit plainly forecloses this

theory. Under clear Eleventh Circuit precedent, mere speculation of vote dilution

where “no single voter is specifically disadvantaged” is a “paradigmatic generalized

grievance.” Wood, 981 F.3d at 1314–15 (distinguishing from redistricting claims

where voters in challenged district directly harmed compared to voters in other

districts); see also Bost v. Ill. State Bd. of Elections, 684 F. Supp. 3d 720, 731 (N.D.

Ill. 2023), aff’d, No. 23-2644, 2024 WL 3882901 (7th Cir. Aug. 21, 2024) (collecting

cases where courts have “agreed that claims of vote dilution based on the existence

of unlawful ballots fail to establish standing”); Moore v. Circosta, 494 F. Supp. 3d

289, 312 (M.D.N.C. 2020) (collecting cases).

      Just like the voter in Wood, Plaintiffs here “cannot explain how [their] interest

in compliance with state election laws is different from that of any other person.”

Wood, 981 F.3d at 1314; see Compl. ¶ 36 (“[T]his relief would protect Plaintiffs’ and

all Georgia voters’ right to vote by safeguarding them from improper vote dilution.”)

(emphasis added). As such, vote dilution in the form of “the inclusion of unlawfully

processed [] ballots” is not an injury-in-fact because “‘no single voter is specifically

disadvantaged’ if a vote is counted improperly, even if the error might have a

‘mathematical impact on the final tally and thus on the proportional effect of every

vote.’” Wood, 981 F.3d at 1314.




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      Here, there is no concrete allegation that any ineligible voters will actually

vote or are even included on the rolls. See Compl. ¶ 39. At best, Plaintiffs present

hypotheticals that unlawful voting could take place, but provide no concrete factual

allegations beyond this mere speculation that Georgia’s elections have been or will

be plagued by unlawful ballots. See Compl. ¶ 10 (“This is particularly important in

the context of absentee voting, where a person could potentially vote multiple times,

or third parties could submit votes without the person’s knowledge.”); Clapper, 568

U.S. at 401 (future injury must be “certainly impending” to satisfy Article III).

      Plaintiffs’ conclusory references to vote dilution, unlike the concrete

allegations of specific vote dilution harms to specific voters in many vote-dilution

cases, are therefore generalized grievances that do not support Article III standing.1

Furthermore, because Plaintiffs cannot establish an injury-in-fact under the first

prong, the Court need not consider causation and redressability. See Wood, 981 F.3d

at 1314 (quoting Lujan, 504 U.S. at 575).




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  That Count I alleges a violation of the NVRA does not change this analysis. Even
if Plaintiffs could meet the NVRA’s statutory prerequisites to suit, they still cannot
satisfy Article III by alleging a “bare procedural violation” and must demonstrate a
constitutional injury-in-fact. See Charles H. Wesley Educ. Found., Inc. v. Cox, 408
F.3d 1349, 1352 (11th Cir. 2005) (state’s rejection of plaintiff’s federal registration
form conferred standing under NVRA); Nat’l Coal. for Students with Disabilities
Educ., Legal Def. Fund v. Bush, 170 F. Supp. 2d 1205, 1209–10 (N.D. Fla. 2001)
(injury flowing from challenged statute’s direct impact on disabled voters’ ability to
vote conferred standing under NVRA).
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                   2. Because No Original Jurisdiction Exists, the Court Has No
                      Basis for Exercising Supplemental Jurisdiction Over
                      Plaintiffs’ State Law Claim in Count II.

       Plaintiffs allege a violation of state law, Georgia Code Section 21-2-233, in

Count II of their Complaint, Compl. ¶¶ 47–50, and assert that the Court may exercise

supplemental jurisdiction over this claim under 28 U.S.C. § 1367, Compl. ¶ 7. “[F]or

a federal court to invoke supplemental jurisdiction . . . it must first have original

jurisdiction over at least one claim in the action.” Exxon Mobil Corp. v. Allapattah

Servs., Inc., 545 U.S. 546, 554 (2005). As demonstrated in detail above, Plaintiffs

have failed to establish the existence of a case and controversy for any claim,

including their federal NVRA claim, under Article III. Therefore, they cannot

maintain their state law claim in Count II in this Court.

       Even assuming that Plaintiffs have established an Article III case or

controversy, because, as explained below, the only federal cause of action in the

Complaint must be dismissed for failure to state a claim, Plaintiffs cannot assert

violations of state law in this litigation.

          B. THE COMPLAINT FAILS TO STATE A CLAIM UPON WHICH
             RELIEF MAY BE GRANTED.

       Both Counts I and II complain of the same alleged violation: Georgia’s

inclusion of voters who have allegedly moved on the active voter list. Compl. at 13–

16. Plaintiffs fail to specify the relief they seek or the source of that relief. See

Compl. at 1, 17 (Plaintiffs request injunctive or mandamus relief). However,

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Plaintiffs’ Complaint fails to state a claim for any form of relief because it does not

include any factual allegations about Defendant’s list maintenance practices, nor

does it so much as gesture at facts supporting an allegation that Defendant has

violated the law in any way. This is fatal to Plaintiffs’ claims, and the Complaint

should be dismissed pursuant to Rule 12(b)(6).

                   1. Plaintiffs Offer No Factual Allegations to State a Plausible
                      Claim to Relief Under Count I or Count II.

      Count I alleges that Defendant has violated Section 8(a) of the NVRA by

failing to “conduct a general program that makes a reasonable effort to remove the

names of ineligible voters from the official lists of eligible voters” due to a change

in address. Compl. ¶¶ 11, 43; 52 U.S.C. § 20507(a)(4)(B). Similarly, Count II alleges

that Defendant has violated Section 21-2-233 of the Georgia Code, which

implements certain list maintenance provisions of the NVRA, by failing “(i) to

adequately compare the state’s voter lists to the change of address information

supplied by the United States Postal Service, (ii) to send notices to voters who appear

to have moved to a different jurisdiction, and (iii) to mark inactive those voters who

fail to respond to the notice within 30 days.” Compl. ¶¶ 7, 15, 48. Each of Plaintiffs’

counts therefore alleges a violation of list maintenance law, but Plaintiffs allege no

facts regarding the State’s list maintenance process or lack thereof, nor the timing of

its list maintenance activities. This deficiency is fatal to their claim.



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      First, Plaintiffs’ fundamental allegation is that the Secretary of State “has not

provided any indication that the state will look into” the registrations identified by

Plaintiffs “or take action to confirm their validity as required by law.” Compl. ¶ 1.

But an allegation that, at worst, the Secretary chose not to act on the admittedly

outdated research submitted by a private citizen does not come close to alleging a

violation of law. Plaintiffs do not allege any facts outlining the Secretary’s list

maintenance program or otherwise allege how it violates the NVRA or state law.

      Instead, Plaintiffs rely on one North Carolina district court case for the

proposition that “reliable data” can support an inference of improper list

maintenance, even without allegations pertaining to the defendant’s actual list

maintenance practices. Compl. ¶ 33 (citing Voter Integrity Project NC, Inc. v. Wake

Cnty. Bd. of Elections, 301 F. Supp. 3d 612, 619 (E.D.N.C. 2017)). Plaintiffs’

problem here is that the “reliable data” used in North Carolina was U.S. Census data,

which courts have previously found to be reliable, Voter Integrity Project, 301 F.

Supp. 3d at 619–20, not outdated analysis of dubious origin like that included

without citation or attribution in Plaintiffs’ Complaint. Plaintiffs themselves allege

that they do not have a factual basis to support the reliability of their analysis. See

Compl. ¶ 39. In fact, there is a high likelihood that their analysis is inaccurate. Arcia

v. Fla. Sec’y of State, 772 F.3d 1335, 1346 (11th Cir. 2014) (noting systematic

programs undertaken on eve of election increase risk that voters may be

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misidentified due to unintentional mistakes in Secretary’s data-matching process);

Majority Forward v. Ben Hill Cnty. Bd. of Elections, 512 F. Supp. 3d 1354, 1369

(M.D. Ga. 2021) (noting inaccuracies in the thousands of residency challenges

brought based on database matching between the voter list and the voter’s name in

the U.S. Postal Service’s National Change of Address (“NCOA”) database). A single

out-of-circuit district court case is not a blank check to throw “data” at the wall to

see what sticks. As Plaintiffs themselves admit that they cannot attest to the accuracy

of the analysis undergirding their Complaint, it cannot plausibly be used to support

a reasonable inference that Defendant has violated the law.

      Second, even assuming the plausibility of the reliability of Plaintiffs’ voter

roll analysis, their claims must be dismissed because their requested relief has no

basis in either the NVRA or state law. As Plaintiffs themselves allege, “the NVRA

does not require states to follow a specific program to maintain the accuracy of its

voter lists . . . .” Compl. ¶ 12. Similarly, Georgia law grants explicit “discretion” to

the Secretary of State under the code provision cited by Plaintiffs. O.C.G.A. § 21-2-

233. Plaintiffs recognize the Secretary’s explanation that “the county offices mailed

notices to Georgia voters who filed a National Change of Address form with the U.S.

Post Office,” Compl. ¶ 26, and they do not dispute that these notices have in fact

been sent, nor do they allege that the Secretary has not removed voters who have

failed to respond to the notices as permitted by the NVRA. That failure is fatal to

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Plaintiffs claim: The NVRA requires no more of the Secretary or county offices than

what Plaintiffs concede they have done. See Bellitto v. Snipes, 935 F.3d 1192, 1203–

05 (11th Cir. 2019). That Plaintiffs are dissatisfied with the results of that program

does not give rise to a claim that the program fails to satisfy the NVRA.

      Moreover, where the Secretary has implemented a list maintenance program

using the National Change of Address system, neither the NVRA nor Georgia Code

Section 21-2-233 requires the Secretary of State to take the action demanded by

Plaintiffs. More important, neither statute requires—nor do they even contemplate—

the Secretary of State bypassing the process of comparing the voter list to NCOA

data himself and instead relying on information supplied by private individuals to

circumvent statutory list maintenance processes. 2 In fact, taking such action within

90 days of the General Election would violate federal law. 52 U.S.C. § 20507(C)(2)

(banning certain systematic list maintenance within 90 days of a federal election);

U.S. Department of Justice, Voter Registration List Maintenance: Guidance under

Section 8 of the National Voter Registration Act, 52 U.S.C. § 20507, Sept. 2024, at


2
  By submitting a list of voter registrations to the Secretary of State, Plaintiffs appear
to be attempting to bypass existing state law on voter challenges. See O.C.G.A. §
21-2-230 (postponing challenges within 45 days of an election until after
certification and explaining “[i]f a challenged elector’s name appears on the National
Change of Address data base, as maintained by the United States Postal Service, as
having changed such elector’s residence to a different jurisdiction, the presence of
such elector’s name on such data base shall be insufficient cause to sustain the
challenge against the elector unless additional evidence would indicate that the
elector has lost his or her residency . . .”).
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4, https://www.justice.gov/crt/media/1366561/dl (“This 90-day deadline applies to

State list maintenance verification activities such as general mailings and door-to-

door canvasses. This deadline also applies to list maintenance programs based

on third-party challenges derived from any large, computerized data-matching

process.”).

      Third, even assuming they had a meritorious claim—and they do not—

Plaintiffs’ request for equitable relief is too little, too late. Plaintiffs are seeking

highly disruptive federal court intervention into Georgia election administration

after ballots have already been requested. Indeed, Plaintiffs fail to acknowledge that

the relief they seek is impossible to implement on their requested timeline. Even if

this Court did require the Secretary of State to send out mailings to all voters flagged

by Plaintiffs’ dubious analysis by this Friday, October 4, this relief would be

ineffective as voters have been able to request absentee ballots for the General

Election since August and will begin advance voting on October 15. See O.C.G.A.

§§ 21-2-381(a)(1)(A); 21-2-381(a)(1)(G); 21-2-385(d)(1); 21-2-14.

      Moreover, the voter registration deadline is Monday, October 7. O.C.G.A. §§

2-2-224(a), 21-2-218. Even assuming Plaintiffs correctly identified some voters as

having changed their residence, many may have submitted new applications and

updated their registration addresses by the deadline. Timely received applications

will not all be processed by October 7 due to the volume of new registrations and

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updates that counties typically receive ahead of major elections. Additionally, if

these voters have moved within the same jurisdiction, they can update their current

address when they request a ballot. In short, granting the relief Plaintiffs seek on the

timeline they identified would be ineffective and unleash widespread confusion on

both voters and election officials.

      Finally, even if the relief Plaintiffs seek was appropriate as a remedy for

failure to carry out a list maintenance program, granting it now would violate the

NVRA’S 90-day bar, and nothing in the NVRA suggests that one violation can be

remedied by committing another. See 52 U.S.C. § 20507(C)(2). If Plaintiffs thought

the state was failing to carry out the required general program, they should have

brought the claim prior to the 90-day period, not weeks before a presidential election.

As the relief Plaintiffs seek pertains only to the November 2024 election, see Compl.

¶¶ 45, 50, their Complaint does not request any equitable relief that this Court has

the power to give.

      Because Plaintiffs’ claims are not supported by adequate factual allegations

and fail as a matter of law, their Complaint fails to state a claim for which relief can

be granted and should be dismissed.

                  2. Plaintiffs are Not Entitled to Mandamus Relief.

      Plaintiffs seek either “[a] writ of mandamus or an injunction” directing the

Georgia Secretary of State to send notices to all voters who Plaintiffs allege have


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moved outside of the jurisdiction. Compl. at 17. As described above, Plaintiffs are

not entitled to declaratory relief or an injunction because they have failed to plead

factual allegations amounting to a violation of the NVRA or Georgia law. To the

extent they seek mandamus relief, their demand also fails. 3

      Mandamus “is an extraordinary” and “equitable remedy” “which should be

utilized only in the clearest and most compelling of cases.” Cash v. Banhart, 327

F.3d 1252, 1257 (11th Cir. 2003). Mandamus relief is appropriate only when: (1) the

plaintiff has a clear right to the relief requested; (2) the defendant has a clear, non-

discretionary duty to act; and (3) “no other adequate remedy [is] available.” Id.

      Plaintiffs fail on all factors. The Secretary of State does not owe any legal duty

to Plaintiffs and cannot be compelled by a writ of mandamus to carry out a

discretionary function. Section 8(a)(4) requires only a “reasonable” program of list

maintenance. Use of the word “reasonable” demonstrates that there inherently is


3
  As Plaintiffs filed their claim in federal court, their request for mandamus relief can
be best interpreted as an invocation of the All Writs Act, which provides that “[t]he
Supreme Court and all courts established by Act of Congress may
issue all writs necessary or appropriate in aid of their respective jurisdictions and
agreeable to the usages and principles of law,” and further provides that “[a]n
alternative writ or rule nisi may be issued by a justice or judge of a court [with
jurisdiction.]” 28 U.S.C. § 1651. However, assuming Plaintiffs seek additional
mandamus relief under state law, their claims fail for the same reasons described
above, namely that Plaintiffs have not adequately pleaded any allegations entitling
them to this extraordinary relief. See Soloski v. Adams, 600 F. Supp. 2d 1276, 1289
(N.D. Ga. 2009) (mandamus is “extraordinary relief” that “will issue against a public
officer: (1) when there is a clear legal right to the relief sought; or (2) when there has
been a gross abuse of discretion”).
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discretion afforded under that provision, and thus mandamus is inappropriate. And

Section 21-2-223(a) explicitly grants the Secretary of State “discretion” to compare

the voter rolls to USPS NCOA data. Nor do Plaintiffs allege—because they cannot—

that they have a legal right to compel the Secretary to conduct list maintenance

merely because they believe more could be done. For the foregoing reasons, there is

no basis for the Court to draw a reasonable inference that mandamus is appropriate

here.

                                  CONCLUSION

        For the foregoing reasons, the Court should dismiss Plaintiffs’ Complaint in

its entirety.




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Respectfully submitted, this 2nd day of October, 2024.

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                      CERTIFICATE OF COMPLIANCE
      Pursuant to Local Rule 7.1, the undersigned counsel hereby certifies that this

document has been prepared with one of the font and point selections approved by

the Court in Local Rule 5.1.

      Dated this 2nd day of October 2024.

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